                                  UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

    In re:                                                        Chapter 11

    Squirrels Research Labs LLC et al.,1                          Case No. 21-61491 (TNAP)
                                                                  (Jointly Administered)
                                        Debtors.
                                                                  Judge Tiiara N.A. Patton


                  NOTICE OF ZOOM HEARING REGARDING SECOND AND FINAL
              APPLICATION OF CLIFTONLARSONALLEN LLP AS ACCOUNTANTS FOR
             THE DEBTORS, FOR ALLOWANCE OF COMPENSATION OF PROFESSIONAL
                 SERVICES RENDERED TO SQUIRRELS RESEARCH LABS LLC FOR
                    THE PERIOD JANUARY 31, 2022 THROUGH AUGUST 26, 2022

        CliftonLarsonAllen LLP has filed with the Court the Second and Final Application of
CliftonLarsonAllen LLP as Accountants For the Debtors, For Allowance of Compensation of Professional
Services Rendered to Squirrels Research Labs LLC For the Period January 31, 2022 Through August 26,
2022 (the “Application”).

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one. If you do not have an attorney, you may wish to consult one.

       If you do not want the Court to grant the Application, or if you want the Court to consider your
views on the Application at a hearing, then on or before November 7, 2022, you or your attorney must:

                   File with the Court an objection/response at:

                   U.S. Bankruptcy Court
                   Ralph Regula Federal Building and U.S. Courthouse
                   401 McKinley Avenue, SW
                   Canton, Ohio 44702

    If you mail your objection/response to the Court, you must mail it early enough so the Court will receive it
    on or before the date stated above.

                   Mail a copy of your response to:

                   Marc B. Merklin
                   Julie K. Zurn
                   Brouse McDowell LPA
                   388 S. Main Street, Suite 500
                   Akron, Ohio 44311
                   Counsel for the Debtors and Debtors-in-Possession

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213), case no.
21-61492.




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                        - And -

                Daniel R. Riemenschneider
                CliftonLarsonAllen LLP
                388 S. Main Street, Suite 420
                Akron, OH 44311

                Accountants to the Debtors


        Please take further notice that a Zoom Video Conference Hearing on the Application will be held
on November 22, 2002 at 11:00 a.m. prevailing Eastern Time, or as soon as thereafter as this matter may
be heard, before the Honorable Tiiara N.A. Patton via the Zoom® Video Communications application
(“Zoom”). To participate in and join the Zoom hearing, parties must pre-register by emailing Brandon
Pasvanis at PattonZoom_Registration@ohnb.uscourts.gov by no later than 4:00 p.m. three (3) business
days prior to the scheduled hearing. Your hearing registration email must include the following information:
(a) case name and case number; (b) the hearing date and time(s); (c) the participant’s name, address, and
telephone number; and (d) the name of party or parties whom participant represents.

        All participants are required to appear by Zoom and comply with Judge Tiiara N.A. Patton’s
Procedures for Video Conference Hearings via Zoom® Video Communications, which can be found on the
Court’s website. Persons without video conferencing capabilities must immediately contact Brandon
Pasvanis, Judge Patton’s Courtroom Deputy, at (330) 742-0950 to make alternative arrangements. Absent
emergency circumstances, such arrangements must be made no later than three (3) business days prior to the
scheduled hearing date. The hearing may be continued from time to time until completed without further
notice except as announced in open court


Dated: October 17, 2022                         Respectfully submitted,

                                                /s/ Julie K. Zurn
                                                Marc B. Merklin (0018195)
                                                Julie K. Zurn (0066391)
                                                BROUSE MCDOWELL, LPA
                                                388 S. Main Street, Suite 500
                                                Akron, Ohio 44311
                                                Telephone: (330) 535-5711
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                                                Counsel for the Debtors
                                                and Debtors-in-Possession




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